     LOCAL FORM FOR A CHAPTER 13 PLAN UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 3015.1 AND
                                  ADMINISTRATIVE ORDER NO. 17-04

                                          UNITED STATES BANKRUPTCY COURT
                                        FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

           Tish T. Cornell                                            CASE NO.
                                                                      CHAPTER 13
S.S.#      xxx-xx-3193                                                JUDGE
        Debtor

and                                                                                    PLAN SUMMARY
                                                                                 For informational purposes only.
                                                                      ACP: 60 Months
                                                                      Minimum Plan Length: 60 Months
S.S.#
                                                                      Plan payment: $ 275.00 per Week
    Joint-Debtor
                                                                      Minimum dividend to Class 9 Creditors $ 0.00
            Debtor(s)
                                                                      Percentage of Tax Refunds committed 0%
__________________________________/


                                                       CHAPTER 13 PLAN
                              [ X ] Original          OR [ ]Pre-Confirmation Modification #

I.    NOTICES
TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. THIS PLAN MAY BE CONFIRMED AND
BECOME BINDING WITHOUT FURTHER NOTICE OR HEARING UNLESS A TIMELY WRITTEN OBJECTION IS
FILED. READ THIS DOCUMENT CAREFULLY AND CONSIDER SEEKING THE ADVICE OF AN ATTORNEY.
  Debtors must check one box on each line to state whether or not the Plan includes each of the following items:
A. Nonstandard Provisions set out in Section IV. Under Federal Rule        Included                  Not included
    of Bankruptcy Procedure 3015(c), a “nonstandard provision”
    means a provision that is not otherwise included in the approved
    form for a Chapter 13 Plan in the Eastern District of Michigan.

B.      A limit on the amount of a secured claim based on a valuation of Included Not included
        the collateral for the claim.
C.      Avoidance of a security interest or lien.                        Included Not included
         IF AN ITEM IS CHECKED AS “NOT INCLUDED” OR IF BOTH BOXES ARE CHECKED, THE PROVISION IS
         VOID EVEN IF OTHERWISE INCLUDED IN THE PLAN.
         ANY “NONSTANDARD PROVISION” THAT IS NOT SPECIFICALLY IDENTIFIED IN SECTION IV IS VOID.
         IF THIS SECTION I INDICATES THAT THIS PLAN DOES NOT INCLUDE ANY “NONSTANDARD
         PROVISIONS”, ANY “NONSTANDARD PROVISIONS” IN THIS PLAN (INCLUDING ANY OTHERWISE
         SPECIFICALLY LISTED IN SECTION IV) ARE VOID.
THIS PLAN IS SUBJECT TO AND INCORPORATES BY REFERENCE THE ADDITIONAL STANDARD PROVISIONS
WHICH MAY BE FOUND AT WWW.13EDM.COM or WWW.MIEB.USCOURTS.GOV OR FROM DEBTOR'S COUNSEL
UPON WRITTEN REQUEST.

II. APPLICABLE COMMITMENT PERIOD; PLAN PAYMENTS; PLAN LENGTH; EFFECTIVE DATE AND
    ELIGIBILITY FOR DISCHARGE:
      A.       Debtor’s Current Monthly Income exceeds the applicable State median income. Debtor’s Applicable Commitment Period
           is 60 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming Plan.


Local Form 10-24-17 V 1
                                                                 1


              23-41351-lsg       Doc 2         Filed 02/16/23    Entered 02/16/23 14:00:49           Page 1 of 14
             Debtor’s Current Monthly Income is less than or equal to the applicable State median income. Debtor’s Applicable
          Commitment Period is 36 months. Debtor’s Plan Length shall be months from the date of entry of the Order Confirming
          Plan. This is a minimum Plan length. If the Plan has not been completed in the minimum Plan length, the Plan length shall
          be extended as necessary for completion of the requirements of the Plan; provided that in no event will the Plan term
          continue beyond 60 months from the date of entry of the Order Confirming Plan. See Paragraph J of the Additional Terms,
          Conditions and Provisions for additional information regarding Completion of Plan.
          If neither or both of the above boxes is checked, then the Applicable Commitment Period and the Plan Length shall be 60
          months from the date of entry of the Order Confirming Plan.
     B. Debtor’s plan payment amount is $275.00 per week.
     C. Future Tax Refunds. See Paragraph A of the Additional Terms, Conditions and Provisions for additional information
        regarding Tax Refunds and Tax Returns.
FOR CASES ASSIGNED TO BAY CITY DIVISION: Check only one box. If none are checked or more than one box is
checked, paragraph 2 shall apply:
1.     Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future Tax
    Refunds

2.      Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
     pro-ration for anticipated Tax Refunds. Debtor will remit 50% of all Federal and State Tax Refunds that debtor receives or is
     entitled to receive after commencement of the case.

3.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
     anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal and State Tax Refunds that debtor receives or is entitled
     to receive after commencement of the case to the extent the Refund exceeds the sum of twelve times the amount of the Federal
     and State Tax Refund pro-ration shown in Schedule I.

FOR CASES ASSIGNED TO DETROIT DIVISION: Check only one box. If none are checked or more than one box is
checked, paragraph 2 shall apply:
1.     Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future Tax
    Refunds.

2.      Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
     pro-ration for anticipated Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor receives or is entitled to
     receive after commencement of the case.

3.      Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
     anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor receives or is entitled to receive
     after commencement of the case to the extent the Refund exceeds the sum of twelve times the amount of the Federal Tax Refund
     pro-ration shown in Schedule I.

FOR CASES ASSIGNED TO FLINT DIVISION: Check only one box. If none are checked or more than one box is checked,
paragraph 2 shall apply:
1.     Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future tax
    refunds.

2.      Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
     pro-ration for anticipated tax refunds. Debtor will remit 100% of all Federal Tax Refunds that Debtor receives or is entitled to
     receive after commencement of the case.

3.      Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
     anticipated Federal Tax Refunds. Debtor is not required to remit Federal Tax Refunds in excess of the amount of the proration
     shown on Schedule I.
     D.      If the box to the immediate left is "checked", the debtor acknowledges that debtor is not eligible for a discharge pursuant
          to 11 USC §1328.
             If the box to the immediate left is "checked", the joint debtor acknowledges that joint debtor is not eligible for a discharge
          pursuant to 11 USC §1328.
Local Form 10-24-17 V 1
                                                                     2


             23-41351-lsg         Doc 2       Filed 02/16/23         Entered 02/16/23 14:00:49               Page 2 of 14
     E.      If the box to the immediate left is "checked", the debtor or joint debtor is self-employed AND incurs trade credit in the
          production of income from such employment. Debtor shall comply with the requirements of Title 11, United States Code,
          and all applicable Local Bankruptcy Rules regarding operation of the business and duties imposed upon the debtor.
III. DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS: See Paragraph F of the Additional Terms, Conditions
     and Provisions for additional information regarding the order in which claims are to be paid.
     A. Class One – TRUSTEE FEES as determined by statute.
     B. Class Two – ADMINISTRATIVE CLAIMS, INCLUDING ATTORNEYS FEES AND COSTS:
          1. PRE-CONFIRMATION ATTORNEY FEES: At confirmation of the Plan, Counsel shall elect to either:
             a.     In lieu of filing a separate fee application pursuant to 11 USC §327 and §330, accept the sum of $ 3,500.00 for
                    services rendered plus $ 0.00 for costs advanced by Counsel, for total Attorney Fees and Costs of
                    $ 3,500.00 through the Effective Date of the Plan. The total Attorney Fees and Costs less the sum paid to Counsel
                    prior to the commencement of this case as reflected in the Rule 2016(b) Statement leaving a net balance due of
                    $ 3,500.00 , will be paid as an Administrative Expense Claim; or

             b.     Request an award of compensation for services rendered and recovery of costs advanced by filing a separate
                    Application for Compensation for services rendered up through the date of entry of the Order Confirming Plan
                    pursuant to 11 USC §327 and §330. If Counsel elects to file a fee application pursuant to this sub-paragraph, the
                    Trustee shall escrow $4,500.00 for this purpose. See Paragraph B of the Additional Terms, Conditions and
                    Provisions for additional information.

          2. POST-CONFIRMATION ATTORNEY FEES: See Paragraph D of the Additional Terms, Conditions and Provisions
             for additional information.
          3. RETENTION OF OTHER PROFESSIONALS FOR POST-PETITION SERVICES: Debtor                                     has retained or
             intends to retain the services of (name of person to be retained) as (capacity or purpose for retention) to perform
             professional services post-petition with fees and expenses of the professional to be paid as an Administrative Expense.
             See Paragraph C of the Additional Terms, Conditions and Provisions for additional information.
          4. OTHER ADMINISTRATIVE EXPENSE CLAIMS: Any administrative expense claims approved by Order of Court
             pursuant to 11 USC §503 shall be paid as a Class Two administrative claim. See Paragraph E of the Additional Terms,
             Conditions and Provisions for additional information.
     C. CLASS THREE – SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND
        TREATED AS UNSECURED CLAIMS TO BE PAID BY TRUSTEE. See Paragraph G and Paragraph N of the
        Additional Terms, Conditions and Provisions for additional information.
          Class 3.1 Liens to be Stripped. 11 USC §506(a).
                                Creditor                                                          Collateral

None

          Class 3.2 Judicial Liens and Non-Possessory, Non-Purchase Money Liens to be Avoided. 11 USC §522(f).
                                Creditor                                                          Collateral
-NONE-

     D. CLASS FOUR - SECURED CLAIMS ON WHICH THE LAST CONTRACTUAL PAYMENT IS DUE BEYOND
        THE LENGTH OF THE PLAN. 11 USC §1322(b)(5).
          Class 4.1    Continuing Payments on a claim secured by the debtor's principal residence that come due on and after
                       the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the Additional Terms,
                       Conditions and Provisions for additional information).
              Creditor                           Collateral                   Monthly Payment         Direct or Via Trustee
Loancare Llc                         21135 Parkcrest Drive Harper Woods,                      1,242.50    Direct by Debtor as Current
                                     MI 48225 Wayne County
                                     (residence)
          Class 4.2       Pre-Petition Arrearages on a claim secured by the debtor's principal residence to be paid by Trustee:
                          Those amounts which were due as of the filing of the Order for Relief:

Local Form 10-24-17 V 1
                                                                     3


             23-41351-lsg           Doc 2     Filed 02/16/23         Entered 02/16/23 14:00:49              Page 3 of 14
                                                                                                   Estimated Average    Months to Cure From
              Creditor                           Collateral                   Arrears Amount       Monthly Payment       Confirmation Date
-NONE-

          Class 4.3    Continuing Payments other than on a claim secured by the debtor's principal residence that come due on
                       and after the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the
                       Additional Terms, Conditions and Provisions for additional information).
              Creditor                           Collateral                   Monthly Payment          Direct or Via Trustee
-NONE-

          Class 4.4       Pre-Petition Arrearages other than on a claim secured by the debtor's principal residence to be paid by
                          Trustee: Those amounts which were due as of the filing of the Order for Relief:
                                                                                                   Estimated Average    Months to Cure From
              Creditor                           Collateral                   Arrears Amount       Monthly Payment       Confirmation Date
-NONE-


     E. CLASS FIVE - SECURED CLAIMS ON WHICH THE LAST PAYMENT WILL BECOME DUE WITHIN THE
        PLAN DURATION. (See Paragraph H, Paragraph L, Paragraph O, and Paragraph S of the Additional Terms, Conditions
        and Provisions for additional information).
         Class 5.1. Secured Claims not excluded from 11 USC §506 to be paid Equal Monthly Payments. 11 USC
                    §1325(a)(5)(B):
                                     Indicate if
                                 "crammed" *** or Interest rate Total to be paid
                                      modified         (Present      Including       Monthly
        Creditor/Collateral                          Value Rate)      Interest       Payment       Direct or Via Trustee
-NONE-/


*** See debtor's Schedule A/B for more information about values.
          Class 5.2. Secured Claims not excluded from 11 USC §506 not to be paid Equal Monthly Payments. 11 USC
                    §1325(a)(5)(B):
                                         Indicate if                                                  Estimated
                                      "crammed"***or          Interest rate                           Average
                                          modified              (Present       Total to be paid       Monthly
        Creditor/Collateral                                   Value Rate)     including interest      Payment          Direct or Via Trustee
Midpoint Construction,               Modified                        0.00%           18,400.19             306.66            Trustee
LLC/21135 Parkcrest Drive
Harper Woods, MI 48225
Wayne County
(residence)
*** See debtor's Schedule A/B for more information about values.
          Class 5.3. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                    to be paid “Equal Monthly Payments”. 11 USC §1325(a)(5)(B).
                                                              Interest rate
                                         Indicate if            (Present       Total to be paid       Monthly
        Creditor/Collateral              "modified            Value Rate)     Including interest      Payment          Direct or Via Trustee
-NONE-/
          Class 5.4. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                    not to be paid Equal Monthly Payments. 11 USC §1325(a)(5)(B).
                                                                                                      Estimated
                                         Indicate if          Interest rate                           Average
                                         "modified              (Present       Total to be paid       Monthly
        Creditor/Collateral                                   Value Rate)     Including interest      Payment          Direct or Via Trustee

Local Form 10-24-17 V 1
                                                                         4


             23-41351-lsg           Doc 2       Filed 02/16/23          Entered 02/16/23 14:00:49                 Page 4 of 14
                                                                                                       Estimated
                                            Indicate if        Interest rate                           Average
                                            "modified            (Present       Total to be paid       Monthly
        Creditor/Collateral                                    Value Rate)     Including interest      Payment          Direct or Via Trustee
-NONE-/


          Class 5.5. Surrender of collateral. (See Paragraph P of the Additional Terms, Conditions and Provisions for additional
                    information).
The debtor(s) surrenders debtor’s interest in the following collateral. Any allowed unsecured claim remaining after disposition of the
collateral will be treated as a Class 9 General Unsecured Creditor.
                   Creditor Name                                                       Description of Collateral
-NONE-

     F. CLASS SIX – EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES. 11 USC §§365, 1322(b)(7): Debtor
        assumes the executory contracts and unexpired leases listed in subparagraph 1. (See Paragraph K of the Additional
        Terms, Conditions and Provisions for additional information).
          Class 6.1. Continuing Lease/Contract Payments:
                                                                                         Monthly          Lease/Contract        Direct or Via
              Creditor                                    Property                       Payment          expiration date         Trustee
-NONE-

          Class 6.2. Pre-petition Arrearages on Assumed Executory Contracts and Leases (to be paid by Trustee):
                                                                                                    Estimated Average    Months to Cure From
              Creditor                              Property                   Arrears Amount       Monthly Payment       Confirmation Date
-NONE-


          Class 6.3. Debtor rejects the executory contracts and unexpired leases listed in this subparagraph 3. Any unexpired
                     lease or executory contract that is neither expressly assumed in Class 6.1 above or expressly rejected below
                     shall be deemed rejected as of the date of confirmation of debtor’s chapter 13 plan to the same extent as if
                     that unexpired lease or executory contract was listed below. (See Paragraph K of the Additional Terms,
                     Conditions and Provisions for additional information):

                                 Creditor                                                                Property
-NONE-

     G. CLASS SEVEN – PRIORITY UNSECURED CLAIMS. 11 USC §§507, 1322(a)(2).
          Class 7.1. Domestic Support Obligations: Continuing Payments that come due on and after the date of the Order for
                     Relief:
                          Creditor                                   Monthly Payment                        Direct or Via Trustee
-NONE-

          Class 7.2. Domestic Support Obligations: Pre-Petition Arrearages due as of the filing of the Order for Relief:
                                                                                        Estimated Average
                      Creditor                               Arrears Amount             Monthly Payment               Direct or Via Trustee
-NONE-

          Class 7.3. All Other Priority Unsecured Claims [11 U.S.C. §1322(a)(2)]
                          Creditor                                       Amount                             Direct or Via Trustee
Internal Revenue Service                                                          10,563.00                         Trustee
State of Michigan Department of Treasury                                           1,281.00                         Trustee
     H. CLASS EIGHT – SEPARATELY CLASSIFIED UNSECURED CLAIMS. 11 USC §1322(b)(1): (To be paid by Trustee):
        (See Paragraph M of the Additional Terms, Conditions and Provisions for additional information):

Local Form 10-24-17 V 1
                                                                          5


             23-41351-lsg            Doc 2       Filed 02/16/23           Entered 02/16/23 14:00:49                 Page 5 of 14
            Creditor                           Amount                   Interest Rate           Reason for Special Treatment
-NONE-

     I.   CLASS NINE - GENERAL UNSECURED CLAIMS (to be paid by Trustee): – See Paragraph N of the Additional Terms,
          Conditions and Provisions for additional information.
               This Plan shall provide a total sum for distribution to creditors holding Class 9 General Unsecured claims in an amount
               that is not less than the Amount Available in Chapter 7 shown on Attachment 1, Liquidation Analysis and Statement of
               Value of Encumbered Property (the “Unsecured Base Amount”). This Plan shall provide either (i) the Unsecured Base
               Amount; or (ii) will continue for the full Plan Length as indicated in Paragraph II.A of this Plan, whichever yields the
               greater payment to Class 9 Unsecured Creditors. See Attachment 2, Chapter 13 Model Worksheet, Line 8, for
               additional information concerning funds estimated to be available for payment to Class 9 Unsecured Creditors.

               This Plan shall provide a dividend to holders of Class 9 General Unsecured Claims equal to 100% of allowed claims.
     If neither box is checked or if both boxes are checked, then the plan shall pay the Unsecured Base Amount.
               If the box to the immediate left is "checked", creditors holding claims in Class Seven, Eight and Nine shall receive
               interest on their allowed claims at the rate of 0.00% per annum as required by 11 USC §1325(a)(4).
IV. Nonstandard Plan Provisions:
            ANY "NONSTANDARD PROVISION" THAT IS NOT BOTH INCLUDED IN SECTION 1.A AND
            SPECIFICALLY STATED IN THIS SECTION IS VOID.

             A. Section V. Paragraph D. language requiring the filing of a plan modification if a case will not complete within 60
                months due to an award of fees to Debtor's attorney is deleted.
             B.
             C.
             D.
             E.

I, ROBERT W. BISHOP P-66345, Attorney for Debtor (or Debtor if not represented by an attorney), certify that this Plan
contains no "Nonstandard Provisions" other than those set out in Section IV above.

/s/ ROBERT W. BISHOP                                                     /s/ Tish T. Cornell
ROBERT W. BISHOP P-66345                                                 Tish T. Cornell
Attorney for Debtor                                                      Debtor
24405 Gratiot Ave.
Eastpointe, MI 48021
Street Address
Eastpointe, MI 48021-0000                                                Joint Debtor
City, State and Zip Code
bermanbishop@gmail.com
E-Mail Address                                                           February 16, 2023
586-775-0600                                                             Date
Phone Number




Local Form 10-24-17 V 1
                                                                    6


             23-41351-lsg         Doc 2      Filed 02/16/23         Entered 02/16/23 14:00:49              Page 6 of 14
                                                 ATTACHMENT 1
                 LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY:

                                                                         DEBTOR'S
                                    FAIR MARKET                          SHARE OF       EXEMPT        NON-EXEMPT
      TYPE OF PROPERTY                 VALUE              LIENS           EQUITY        AMOUNT          AMOUNT

    PERSONAL RESIDENCE

21135 Parkcrest Drive Harper
Woods, MI 48225 Wayne County             160,000.00        138,903.19       21,096.81     21,096.81            0.00
(residence)

    PERSONAL RESIDENCE
                                         160,000.00        138,903.19       21,096.81     21,096.81            0.00
           (total)

 REAL ESTATE OTHER THAN
                                               0.00               0.00           0.00          0.00            0.00
   PERSONAL RESIDENCE


  HHG/PERSONAL EFFECTS


Furniture and household goods
                                           5,000.00               0.00       5,000.00      5,000.00            0.00
in possession of debtor

Televisions, computer, and cell
phone                                      1,500.00               0.00       1,500.00      1,500.00            0.00
in possession of debtor

Clothing
                                           1,400.00               0.00       1,400.00      1,400.00            0.00
in possession of debtor

  HHG/PERSONAL EFFECTS
                                           7,900.00               0.00       7,900.00      7,900.00            0.00
          (total)


             JEWELRY


Miscellaneous jewelry
                                            500.00                0.00        500.00        500.00             0.00
in possession of debtor


         JEWELRY (total)                    500.00                0.00        500.00        500.00             0.00



    CASH/BANK ACCOUNTS


Cash on hand
                                              50.00               0.00         50.00         50.00             0.00
in possession of debtor

Checking & Savings: Chase
                                          10,000.00               0.00      10,000.00      8,167.19        1,832.81
Bank

Savings: Michigan First Credit
                                              11.00               0.00         11.00         11.00             0.00
Union


Local Form 10-24-17 V 1
                                                            7


             23-41351-lsg        Doc 2   Filed 02/16/23     Entered 02/16/23 14:00:49     Page 7 of 14
Savings: Chase Bank                                 50.00        0.00        50.00            50.00           0.00


    CASH/BANK ACCOUNTS
                                               10,111.00         0.00     10,111.00      8,278.19         1,832.81
           (total)


             VEHICLES                                0.00        0.00          0.00            0.00           0.00



          OTHER (itemize)

Term Life Policy through
employer
                                                     0.00        0.00          0.00            0.00           0.00
with no present cash value
Beneficiary: Niece
Whole Life Policy through
National Lif                                      250.00         0.00       250.00           250.00           0.00
Beneficiary: Niece

           OTHER (total)                          250.00         0.00       250.00           250.00           0.00


                    Amount available upon liquidation                                    $               1,832.81

                    Less administrative expenses and costs                               $               1,000.00

                    Less priority claims                                                 $              11,844.00

                    Amount Available in Chapter 7                                        $                   0.00




Local Form 10-24-17 V 1
                                                             8


             23-41351-lsg         Doc 2     Filed 02/16/23   Entered 02/16/23 14:00:49   Page 8 of 14
                                                            ATTACHMENT 2

                                              CHAPTER 13 MODEL WORKSHEET
                                          LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M
1.        Proposed length of Plan:                        60        months

2.         Initial Plan Payment:
          $275.00 per week x 260 installments = $71,500.00 (subtotal)

          Additional
3.        Payments:           $                 per=$(subtotal)

4.        Lump sums payments                                                                                        $0.00

5.        Total to be paid into Plan (total of lines 2 through 4)                                               $71,500.00

6.        Estimated disbursements other than to Class 9 General Unsecured Creditors

          a. Estimated Trustee Fees                                           $6,435.00

          b. Estimated Attorney Fees and costs through
             confirmation of plan                                             $4,500.00

          c. Estimated Attorney Fees and costs post-confirmation
             through duration of Plan                                         $2,500.00

          d. Estimated fees of other Professionals                                  $0.00

          e. Total mortgage and other continuing secured debt
             payments                                                               $0.00

          f. Total non-continuing secured debt payments
             (including interest)                                            $18,400.19

          g. Total priority claims                                           $11,844.00

          h. Total arrearage claims                                                 $0.00
          Total disbursements other than to Class 9 General Unsecured Creditors
7.        (Total of lines 6.a through 6.h)                                                           $           43,679.19

          Funds estimated to be available for Class 9 General Unsecured Creditors
8.        (Line 5 minus Line 7)                                                                  $               27,820.81

          Estimated dividend to Class 9 General Unsecured Creditors in Chapter 7 proceeding
9.        (see Liquidation Analysis on page 6)                                                   $                    0.00



COMMENTS:




Local Form 10-24-17 V 1
                                                                     9


             23-41351-lsg            Doc 2    Filed 02/16/23         Entered 02/16/23 14:00:49   Page 9 of 14
                                               V. ADDITIONAL STANDARD PROVISIONS

                               THE FOLLOWING STANDARD PROVISIONS ARE APPLICABLE TO
                              ALL PLANS AND PRE-CONFIRMATION MODIFIED PLANS FILED ON
                                   OR AFTER DECEMBER 1, 2017, IN THE UNITED STATES
                              BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF MICHIGAN

A.        DEBTOR’S OBLIGATION TO REMIT TAX REFUNDS: Debtor shall not alter any withholding deductions/exemptions
          without Court approval. If the Internal Revenue Service or any State taxing authority remits to the Trustee any sum which the
          debtor is not required to remit pursuant to this Plan, then upon written request of the debtor and concurrence of the Trustee,
          the Trustee shall be authorized to refund those sums to the debtor from funds first available without further motion, notice or
          Order of Court. The Trustee shall not be required to recoup or recover funds disbursed to creditors prior to receipt of the
          debtor’s written request.

          If debtor is married and debtor’s spouse is not a joint-debtor in this case, debtor’s Tax Refund(s) for any calendar year shall
          be 50% of the aggregate net Tax Refunds received by debtor and debtor’s Non-filing spouse, regardless of whether debtor
          and spouse file a joint tax return or file separate tax returns.

B.        ALLOWANCE AND PAYMENT OF PRE-CONFIRMATION ATTORNEY FEES: If Class 2.1 of the Plan indicates
          that Counsel intends to file a Separate Application for compensation for services rendered up through the date of entry of the
          Order Confirming Plan pursuant to 11 USC §327 and §330, the Trustee shall withhold the amount designated in Class 2.1
          from funds remaining after payment of claims required to be paid prior to attorney fees pending further Order of Court.

C.        RETENTION AND COMPENSATION OF OTHER PROFESSIONALS FOR POST-PETITION
          PRE-CONFIRMATION SERVICES: If Class 2.3 indicates that debtor has retained or intends to retain the services of any
          Professional (as that term is defined in 11 USC §327) to perform professional services after the commencement of this case,
          debtor will file a timely Application to Employ Professional Person stating the identity of the person to be retained and the
          capacity or purpose for retention, accompanied by a Certification of Disinterestedness signed by the Professional and obtain
          Court permission to retain the Professional. The Professional may seek compensation in an amount not to exceed $400.00 by
          filing a Proof of Claim designated as an Administrative Expense without further notice, hearing or Order of Court. If the
          Professional seeks compensation in excess of $400.00, the Professional shall file an Application for Compensation for
          services rendered pursuant to 11 USC §327.

D.        POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE APPLICATION: Counsel reserves the right
          to file Applications for compensation for services rendered subsequent to the Confirmation of this Plan.

E.        PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS: Administrative Expense Claims as defined in 11 USC §503,
          other than those claims provided for in Paragraphs B, C and D of these Additional Terms, Conditions and Provisions, will be
          deemed allowed and will be paid only upon entry of a specific Order of this Court determining the allowance and amount of
          that claim.

F.        ORDER OF PAYMENT OF CLAIMS: All claims for which this Plan proposes payment through the Trustee shall be paid
          in the following order to the extent that funds are available:

                    Level 1: Class 1
                    Level 2: Class 5.1, 5.3 and 6.1
                    Level 3: Class 2.1 and 2.3
                    Level 4: Class 2.2 and 2.4
                    Level 5: Classes 4.1 and 4.3
                    Level 6: Classes 4.2, 4.4, 5.2, 5.4 and 6.2
                    Level 7: Class 7
                    Level 8: Classes 3.1, 3.2, 5.5, 6.3, 8 and 9.

          Each level shall be paid as provided in this Plan before any disbursements are made to any subordinate class. If there are not
          sufficient funds to pay all claims within a level, then the claims in that level shall be paid pro rata.

G.        SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND TREATED AS
          UNSECURED: Claims for which the creditor holds a lien that is listed as “Stripped” in Class 3.1 or “Avoided” in Class 3.2
Local Form 10-24-17 V 1
                                                                    10


            23-41351-lsg           Doc 2       Filed 02/16/23       Entered 02/16/23 14:00:49               Page 10 of 14
          are avoided and will be paid as a General Unsecured Creditor as provided in Class 9 of the Plan. Upon completion of the
          Plan, the creditor will record a Satisfaction of the Lien in the applicable Public Records to discharge and release the lien. If
          the creditor fails to do so, the Debtor may file a motion for an order declaring that the lien has been satisfied by completion
          of the confirmed Plan, which the Debtor may then have certified and recorded in the applicable Public Records.

H.        CLASS 5.1, CLASS 5.3 AND CLASS 6.1 CREDITORS SPECIFIED TO RECEIVE EQUAL MONTHLY
          PAYMENTS: Creditors identified in Class 5.1, Class 5.3, and Class 6.1 will receive Equal Monthly Payments to the extent
          funds are available at the date of each disbursement. If more than one creditor is scheduled in Class 5.1, Class 5.3, and Class
          6.1 and the funds available in any disbursement are insufficient to pay the full Equal Monthly Payments to all of the listed
          creditors, payments shall be made on a pro rata basis determined by the ratio of the Equal Monthly Payment specified to
          each creditor to the total amount of Equal Monthly Payments to all creditors scheduled in Class 5.1, Class 5.3, and Class 6.1.
          The amount of the Equal Monthly Payment to any creditor shall be the amount stated in Class 5.1, Class 5.3, and Class 6.1 as
          may be applicable and the amount of the Equal Monthly Payment specified in the Plan will supersede any monthly payment
          amount specified in a Proof of Claim at variance with the Equal Monthly Payment amount set forth in the Plan unless
          otherwise Ordered by the Court.

          The monthly post-confirmation disbursement to any creditor designated in Class 5.1, Class 5.3, and Class 6.1 will not exceed
          the Equal Monthly Payment amount for that creditor for the month in which disbursement is being made plus any previously
          unpaid Equal Monthly Payments accruing before the date of disbursement.

I.        APPLICATION OF DISBURSEMENTS BY CREDITORS: Creditors shall apply all disbursements under the Plan only
          in the manner consistent with the terms of the Plan and to the account(s) or obligation(s) as designated on the voucher or
          check provided to the Creditor with each disbursement.

J.        COMPLETION OF PLAN: For purposes of 11 USC §1328, the debtor shall be deemed to have completed all payments
          under the Plan:

             1. Upon the expiration of the Plan Length as defined in Paragraph II.A of the Plan commencing on the date of entry of the
                Order Confirming Plan; and

             2. Debtor has remitted all Plan payments (as defined in Paragraph II.A and II.B of the Plan) coming due after the date of
                entry of the Order Confirming Plan; and

             3. Debtor has remitted all Federal Income Tax Refunds as required by Paragraph II.C of the Plan and Paragraph A of
                these Additional Terms, Conditions and Provisions; and

             4. Debtor has remitted a sum sufficient to pay all allowed claims as amended and/or supplemented as provided in the
          Plan.

K.        EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES:

          1. Any executory contract or unexpired lease not expressly assumed in Class 6.1 or in the Order Confirming Plan shall be
             deemed rejected effective as of the Effective Date of this Plan.

          2. Upon rejection of any Executory Contract or Unexpired Lease, the property and debtor’s interest in the rejected executory
             contract or unexpired lease will no longer be property of the estate and the stay under 11 USC §362(a) and the co-debtor
             stay under 11 USC §1301 shall automatically terminate as to such property. Any claims arising from the rejection of an
             executory contract or unexpired lease shall be treated as a general unsecured claim in Class Nine, subject to further Order
             of Court.

          3. For all assumed executory contracts and unexpired leases, confirmation of this Plan shall constitute a finding that this Plan
             complies with all requirements for assumption of the executory contracts and unexpired leases being assumed, including
             all requirements set forth in 11 USC §365(b).

          4. Upon the termination of the Lease (whether as a result of the expiration of the contractual lease term, repossession of the
             property which is the subject of the Lease, or otherwise), the Lessor shall have the right to file a Supplemental Claim for
             any damages or charges permitted under or pursuant to the Lease.

          5. If Class 6.1 provides for the Continuing Lease/Contract Payments to be made by the Trustee, the Supplemental Claim as
             filed and allowed shall be paid by the Trustee over the remaining term of the Plan.
Local Form 10-24-17 V 1
                                                                     11


            23-41351-lsg          Doc 2      Filed 02/16/23          Entered 02/16/23 14:00:49               Page 11 of 14
          6. If Class 6.1 provides for the Continuing Lease Payments to be made directly by the Debtor to the Lessor, the Supplemental
             Claim as filed and allowed shall be paid directly by the Debtor to the Creditor over the remaining term of the Plan. If there
             is a balance outstanding on the Supplemental Claim as of the completion of Debtor’s confirmed Chapter 13 Plan, this
             balance shall not prevent or preclude the entry of a discharge in this case; instead, this balance shall be deemed
             non-dischargeable and Debtor shall be responsible for payment of the remaining balance of the Supplemental Claim
             following the entry of a Discharge.

L.        SECURED CLAIMS – POST-PETITION FEES, COSTS AND CHARGES:

          1. Any Supplement to Claim that is filed with the Court as to which there is no objection filed or as to which any objection
             has been overruled, shall be deemed allowed.

          2. If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid by the Trustee, the Supplement to
             Claim as filed and allowed shall be paid by the Trustee over the remaining term of the Plan.

          3. If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid directly by the debtor to the
             Creditor, the Supplement to Claim as filed and allowed shall be paid directly by the debtor to the Creditor before
             completion of the Plan. If there is a balance outstanding on the Supplement to Claim as of the completion of debtor’s
             confirmed Chapter 13 Plan, this balance shall not prevent or preclude the entry of a discharge in this case; instead, any
             unpaid balance shall be non-dischargeable.

M.        SEPARATELY CLASSIFIED UNSECURED CLAIMS: Claims classified as “Separately Classified Unsecured
          Claims”are unsecured claims that qualify for discriminatory and preferred treatment pursuant to 11 USC §1322(b)(1). The
          basis for separate classification is specified in Paragraph III.H of the Plan. Each Separately Classified Unsecured Claims
          shall receive payments that total 100% of the allowed amount of the claim plus interest if specified in Class Eight of the Plan.
          See also Paragraph F of the Additional Terms, Conditions and Provisions for additional information concerning the timing
          of payments to be made on these claims.

N.        GENERAL UNSECURED CREDITORS: Unless Class 9 of the Plan provides a dividend to holders of General Unsecured
          Claims equal to 100% of allowed claims, the Plan shall produce a total sum for distribution to General Unsecured Creditors
          (the “Unsecured Base Amount”). The Unsecured Base Amount shall be not less than the aggregate amount which creditors in
          this class would have received had the estate of the debtor been liquidated under Chapter 7 of Title 11, United States Code.
          See 11 USC §1325(a)(4). Each holder of a duly filed and allowed General Unsecured Claim shall receive the holder’s pro
          rata share of the Unsecured Base Amount, based on the Creditor’s Claim as a fraction of the total General Unsecured Claims
          duly filed and allowed. The pro rata dividend for each holder of an allowed unsecured claim will be calculated by the
          Trustee upon review of allowed claims.

          This Plan shall provide either the total Unsecured Base Amount or shall continue for the Plan Length as stated in Paragraph
          II.A of the Plan, whichever will offer the greater dividend to general unsecured creditors.

O.        VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon the Effective Date of the Plan,
          all property of the estate shall vest in the debtor and shall cease to be property of the estate. The debtor shall remain in
          possession of all property during the pendency of this case unless specifically provided herein, and shall not seek to sell,
          transfer or otherwise dispose of such property (except in the ordinary course of debtor’s business) without prior Court
          approval.

P.        SURRENDER OF COLLATERAL: Those claims that are treated pursuant to 11 USC §1325(a)(5)(C) (surrender of
          collateral) are so designated in Class 5.5 of the Plan. Upon confirmation, the Automatic Stay and co-debtor Stay is lifted as to
          the collateral and any creditor holding a lien on the collateral and the collateral shall no longer constitute property of the
          estate. No disbursements shall be made by the Trustee to any creditor whose claim is secured by the collateral being
          surrendered unless the holder of such claim files a Proof of Claim (or Amended Proof of Claim) after the Effective Date of
          the Plan setting forth the amount of any deficiency remaining after disposition of the collateral. Any allowed deficiency claim
          shall be paid as a general unsecured claim in Class 9 of the Plan. See Federal Rule of Bankruptcy Procedure 3002.1.

Q.        PROHIBITION AGAINST INCURRING POST-PETITION DEBT: While this case is pending, the debtor shall not
          incur a debt in excess of $2,000.00 without first obtaining approval of either this Court or of the Chapter 13 Trustee. If the
          Chapter 13 Trustee stipulates to entry of an Order allowing Debtor to incur post-petition Debt, Debtor shall be permitted to
          file the Stipulation signed by the Trustee and to submit an Order to the Court on an ex parte basis without notice to creditors
          or other parties in interest.
Local Form 10-24-17 V 1
                                                                     12


            23-41351-lsg          Doc 2      Filed 02/16/23         Entered 02/16/23 14:00:49                Page 12 of 14
R.        UNSCHEDULED CLAIMS: If an unscheduled proof of claim is filed, the Trustee is authorized to exercise sole discretion
          to classify the claim into one of the existing classes under this Plan and to schedule the claim for payment within that class,
          without prejudice to debtor’s right to object to the allowance of the claim and/or to modify the plan to provide a different
          treatment.

S.        PROOFS OF CLAIM FILED AT VARIANCE WITH THE PLAN: In the event that a proof of claim is filed and allowed
          that is at variance with the provisions of this Plan, the following method is to be employed to resolve the conflict:

          1. Regarding claims for which the Plan does not propose a "cramdown" or modification, the proof of claim shall supersede
             the Plan as to the claim amount, percentage rate of interest, monthly payments, valuation of collateral and classification of
             the claim.
          2. As to claims for which the Plan proposes a "cramdown" or modification, the Proof of Claim governs only as to the claim
             amount. The Plan governs valuation and interest rate.
          3. If a Proof of Claim is filed that is at variance with this Plan or related schedules, the Trustee shall automatically treat that
             claim as the holder indicated, unless provided otherwise in the confirmed Plan; these Additional Terms, Conditions and
             Provisions; or by Order of Court.
          4. As to claims specified in Class 3.1 or Class 3.2 (Secured Claims to be Stripped or Avoided), the Proof of Claim shall
             control only as to the allowed amount of the claim. See also Paragraph G of the Additional Terms, Conditions and
             Provisions for additional information concerning payments to be made on these claims.

T.        TAX RETURNS AND TAX SET-OFFS: All tax returns which have become due prior to the filing of the Plan have been
          filed. The Internal Revenue Service and the United States Department of Treasury are prohibited from setting off against
          post-petition Tax Refunds for payment of pre-petition tax obligations.

U.        DEBTOR DUTY TO MAINTAIN INSURANCE – REMEDY FOR FAILURE TO MAINTAIN INSURANCE: Debtor
          shall maintain all insurance required by law and contract upon property of the estate and the debtor's property. After
          confirmation of this Plan, if the debtor fails to maintain insurance as required by law or contract, any party in interest may
          submit a notice of default, served on debtor, debtor’s counsel and the Chapter 13 Trustee, permitting 10 days from service of
          the notice in which to cure the default. If the default is not cured within the time permitted, the party in interest may submit
          an Order Granting Relief from the Automatic Stay as to the collateral to the Court along with an affidavit attesting to the
          debtor’s failure to cure, and the stay may thereafter be lifted without further motion, notice or hearing.

V.        SECURED CREDITORS, LESSORS AND PARTIES TO EXECUTORY CONTRACTS UPON ENTRY OF ORDER
          LIFTING AUTOMATIC STAY: Any secured creditor and any party to an assumed executory contract or unexpired lease
          as to whom the automatic stay is lifted shall not receive any further disbursements until a proof of claim for the balance
          remaining after liquidation of the collateral is filed.

W.        PROVIDING FUTURE TAX RETURNS TO TRUSTEE: Debtor shall timely file each Federal Income Tax Return
          required to be filed under applicable law during the pendency of this case, and shall provide to the Trustee a copy of each
          Return at the same time the Return is filed with the taxing authority.

X.        DEADLINES IN EVENT OF CONVERSION: In the event of conversion of this case to a case under Chapter 7 of the
          United States Bankruptcy Code, the rights of the Chapter 7 Trustee and all creditors (including but not limited to the right to
          object to exemptions and the right to object to discharge pursuant to 11 USC §727 and/or dischargeability pursuant to 11
          USC §523) will be determined as if the Petition was filed on the date of conversion. The date of the Order converting this
          case to one under Chapter 7 will be treated as the date of the Order For Relief and all applicable deadlines shall be
          determined as if the post-conversion Meeting of Creditors pursuant to 11 USC §341 was the initial Meeting of Creditors.

Y.        OBJECTIONS TO PROOFS OF CLAIM: Any party-in-interest shall have the right to object to Proofs of Claim.
          Confirmation of this Plan shall not constitute a waiver of any objection and shall not constitute or have any res judicata or
          collateral estoppel effect on or against any objection to Proof of Claim. If any objection to Proof of Claim is filed and
          sustained, in whole or in part, after the Trustee has begun making disbursements under this plan as confirmed, Trustee shall
          have no obligation or duty to recoup any payments or disbursements made to the creditor whose Proof of Claim was the
          subject of the objection.

Z.        CREDITOR’S AUTHORIZATION TO CONTACT DEBTOR: Notwithstanding the provisions of the Automatic Stay
          and Co-Debtor Stay, creditors holding claims in Classes 4 and 5 for which the debtor proposes to retain the collateral and
          parties to any assumed unexpired lease or executory contract in Class 6 may contact Debtor for purposes of sending periodic

Local Form 10-24-17 V 1
                                                                      13


            23-41351-lsg          Doc 2       Filed 02/16/23         Entered 02/16/23 14:00:49                Page 13 of 14
          statements and annual or periodic summaries of accounts including but not limited to account reconciliations pursuant to the
          Real Estate Settlement Procedures Act.

AA.       IDENTITY OF DISBURSING AGENT: All claims in all classes of creditors shall be paid by the Trustee as Disbursing
          Agent except those claims which are specified to be paid directly by either the debtor or a third party, in which event the
          debtor or third party making those payments shall be the Disbursing Agent for those claims.

BB.       SPECIAL PROVISIONS APPLICABLE TO GOVERNMENTAL UNITS RESPONSIBLE FOR ENFORCING
          DOMESTIC SUPPORT OBLIGATIONS: Notwithstanding the provisions of 11 U.S.C. §362 and §1327, the Automatic
          Stay is modified to permit any governmental unit or agency responsible for enforcing a domestic support obligation to send
          notices, to take other actions to the extent not inconsistent with the terms of the Plan, and to collect domestic support
          obligations from property that is not property of the estate.

CC.       PRE- AND POST-PETITION LITIGATION AND CAUSES OF ACTION: Debtor and the Chapter 13 Trustee shall
          have concurrent standing to prosecute all Pre- and Post-Petition causes of action, including but not limited to actions arising
          under Title 11, United States Code. Any compromise or settlement of any litigation or cause of action shall be subject to the
          provisions of Federal Rule of Bankruptcy Procedure 9019. Any proceeds or damages recovered by or on behalf of the debtor
          shall be retained pending Order of the Bankruptcy Court.

DD.       SUBSTANTIVE CONSOLIDATION OF JOINTLY FILED CASES: If this case has been filed jointly by a husband and
          wife pursuant to 11 USC §302, entry of an Order Confirming Plan shall also constitute an Order for Substantive
          Consolidation of the debtors.

EE.       NON-APPLICABILITY OF FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1: The requirements and
          provisions of Federal Rule of Bankruptcy Procedure 3002.1 shall not apply to any property that the Plan as confirmed
          surrenders to the Creditor as provided in 11 USC §1325(a)(5)(C); or to any property as to which the Automatic Stay is lifted
          for purposes of allowing the secured creditor to exercise rights and remedies pursuant to applicable State Law, regardless of
          whether the Order Lifting Automatic Stay is entered before or after entry of an Order Confirming the Plan.

FF.       TIME TO CURE PARAMOUNT: For any class of claims where the Months to Cure From Confirmation Date may be
          specified, if the Plan does not specify the number of months to cure, the Months to Cure From Confirmation Date shall be the
          Plan Length specified in Paragraph II.A of the Plan. For any class of claims or creditors for which the Plan specifies an
          Estimated Average Monthly Payment that is inconsistent with or contradicts the Months to Cure From Confirmation Date,
          the Months to Cure From Confirmation Date controls. The Chapter 13 Trustee is authorized to make any changes to the
          amount of disbursements to the creditor to implement this provision.

GG.       SECURED CLAIMS EXCLUDED FROM 11 USC § 506 BY THE “HANGING PARAGRAPH” AT THE END OF 11
          USC §1325 (a)(9): Claims treated in Class 5.3 or Class 5.4 are claims that were either (1) incurred within 910 days before
          the petition date and secured by a purchase money security interest in a motor vehicle acquired for the personal use of the
          debtor(s), or (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other
          thing of value.




Local Form 10-24-17 V 1
                                                                    14


            23-41351-lsg         Doc 2       Filed 02/16/23        Entered 02/16/23 14:00:49               Page 14 of 14
